Case 7:21-cv-05334-NSR Document 67-12 Filed 11/30/22 Page 1 of 6




          EXHIBIT
                             12
   Case 7:21-cv-05334-NSR Document 67-12 Filed 11/30/22 Page 2 of 6

                                                                                                     33
     lN.r$ua/ut.,I|.li{|t,'ll!.r\l\ult'l'HlllL,\,,vrMtJNwlrAL.,,.H.
                                                                                                               r786.
                                                                     mrd                crrors ccafins to
                                                                           'lreb'ile'
[.Jffis;.lJ$1xll,f[|1:l;[Htf'-XiigT;,-t1:f*Hs.i'5ff
                                                                                                            No nnn con '
                                                                                                            pllc,l to frc-
                                                                                                            rlrrflt 0r lult-
                                                                                                            pon.ny rcll-
                                                                                                            li,ltlt lcotrllD.
                                                                                                            lll rrcn frci
                                                                                                            ro prnfcfr, anJ



mm# ff*gm''u*ru:t-;mt*mffi                                                                                  l+ nlFrmon3
                                                                                                            to lnrlntctt
                                                                                                            rlreir rrrligr*tr
                                                                                                            up[rlor$.
                                                                                                            Dccletation



'm;m$u$utlfiffmmr#mm
                                                                                                            thot thc rlchrr
                                                                                                            bv rliir Adsf.
                                                                                                            fdrrcrl, rrc uf
                                                                                                            rlr( rulurll
                                                                                                            righn of neni
                                                                                                            kind.




1914>   ql+ +. +'S..4*+++'$$'+'@€+€+4"'++$.@$l


-
Generat lftrnbl!, begun and h:E .?q th.*
  f"ftic f,uildihgt, iil the City 9t Rt'hmond,
      on Monday, tfre.r6th Day bf Ofiober, in
      the Year bf our l,ord, 1786.
                                  C TI A P.                    XXI,
                    An tlc| foriitlctitg and p'ttni/hing Afralr'
                                 [Pafod tlrc lrttr of Novcnrber, r786.]


H"#.#",fJ l!.' ,'!:",?:"{{t'#{,;iifl;$'jx,ii:.il1.fli,xlffif'il!.$,l"!t*f;:*.tl,t "d#f,,;[:l
ffi.'#5;;:.T,*r,,?:iJF;ill,*i:y:F{l;'s:ll',*:Ul'l?i.:ir..il1'fi{[fls"i'ro,                               fr"':i'i*f
itli. i"i"?;i"i;;ih;;; ;ith tbrlccandarnrs, ilrpt.iti"c pain, to fo-rfcit thcir armour to thcQesl- run':cc, or in
                                                                     cottrt;           nor ridc armcttby [;l];!:H'
;'Ji;i,jilt,';ii;ffii,;,1'"r l"r'iiruii, ,ii'lji.otlicrplaccs,ofirtntc-rtor    'r.orEo
                                                                                the eortut{I' jPonpain orrrrccou'rv
;Hil ,* i"    ,irv, in t'"i;;;; *i,.t
                                      "ir,bt
                                             irr                            of
                                                               on his orvn vrcw.' or
 ofn ino aricfte<i nnd Committcd to prifori by    any   Jttlticc                       Proo.t.oJ,otlgrst
                                                                                       ut' larc JulEtcc'
 thcrC to"ebirlc for fo long a tiure as h Jrrry' to bc hvorn fov tlurt PurPole PI
                    iii              to ftx'fcii his arrnour   to thc  cotnmonrvealth;    but no pcrtbn
 iiitti oiriCtl .o*     likJn,*uu.r
 iilii il;h' ,.',1-"r fri: f;;ir orr"n.. by r longcr'lirrcc    of tinre thstr oue nronth'


                                   CHAP.               XXII.
                                irt '{tt ngairfi Co}rfP;ratort,
                                  lltallcd thc zTth of ]lovonbcr' i?86,1

 5E it leclarel and twttfttd try thc Gtnt:rttt l!fttnt'lS, T'hat Confpirators be.thcy thatdo :on:, lY.}3.|H".*
                                                             or other allrance-' tnat evcry o.l tl]"S rpin:o'r.
 fa .fcderaru nntl birut tfuemfcives by oatlr, covcnant, rno-\'e                                                            .


 ifia-U iia'li.i1;ilt;;th"afafely ar{l rnalicioufly, _tg          or cauG tobe moyc$ any indidt-
                                                                               and tiole rrllo iue
 nrent ot inibmration ngai1ft tngther on the part <lf the Commotlwcalth'
                                                                                              rnd
 convi€tetl ttrcrtof ar,haT;il;i'iil 4,il;;r'ti"..lth, fhall bc punii^hc<l by impriltrnn:nt
                 at thedifcrction of a  Jrlry.
 .aihtrccment,                                      npfi. ZZ
Case 7:21-cv-05334-NSR Document 67-12 Filed 11/30/22 Page 3 of 6
     Case 7:21-cv-05334-NSR Document 67-12 Filed 11/30/22 Page 4 of 6




C                                                                            Xi fir lt', .l .r
     I
                                                 A                           trlLl-ri"f

         COLLECTTO
                                                                                            4',,,.




                         OF                      THE                                    s
                                                                                              ni
                                                                                             1,.'




    STATUTE.U
             OT TH8 TAR.LIAT{ENT Or

     ENGLAND
                 tH toR ct, trf ttrE Sf ,rtf ot
                                                                        tt
                                                                  rll




NORTHICAROLINA;
PUBLISIIED ACCORDINC TO A IETOLVI OF
                                                     ?HE CSNETAL AttfMITT
    Br FRANC9,I$.XAVIEq !\,f ;\tr 1 .\, Erq.
           COUNgE!.,I,O''r. I.A,\!-.


                      JVtVBEitrv..
             troil Tr,E UnITOR,T ptrES$,
                          Itr.r-ttEtF-t-l"l--l


                                 t7 92;

                                            App.24
               Case 7:21-cv-05334-NSR Document 67-12 Filed 11/30/22 Page 5 of 6




                                               (6o)
                                      C H ;l P.                   Vllt.
                               Notliys lbuii        takn.
                                               !1           frr .?:i:lfi:r,          ^ar...h

 1'fEM, TTlrercrs fomc of the redm hrq grlevoglly complairrr:d, thrt tlrcy be grieved
 r  bt $lrcrifl'r, nanring tltentfclvce tlrc Kin!'u bpprbverr, whicir t:rke nroney Ly exrortion
 for llceuplcader, thc Kirtg wilt, rhrt thc ltrtr$e pf Mrrlcuridgc lh*rl bc obfcrverl antl
 kept in thir point,


                                      CHAP.                       XlY. '      '



                '                  None lbolt nmmit I'Iaintoiiacr,

 [TEM, Bccaufc thc Kirrg dcfircth thnt comrnon rigfit bc adminiftere,l lo all perfonr,
 I rc wcl! poor ar rich, hi cornmandctlr nntl dcfcudcth, tltat norte of histh.cCourrlcl,ors,
ii& ,rf Uir liorfb; oor noac othlr of lrir Miniftc,rq nor np glftt-,nran
                                                             -nor        -q"f    r91ln-r by
himfclf, nor by orher, by lbnding of lctters, nor othcrwilc,        ttotte otlrcr in thii lanrll
grcitt nor fmaft, ffr,rll t,l[r upon-thcm to rnaintriu guarrclc nor partics in thc c'oslUryt
fo thc let end dilturbancc of tltc conrmott hw,


$afutes rnrdc at Northainpton, tribus Septi,manis Palc hae, in thc
  liccond Year of tlrc R.rSn of hdwarcl thc 'fhird ,, end in the Year
  of our Lorcl t 928,

                                       CHAP.                      !.
             A Corlrnation of thc. Grcat Cl:arter onl tt:e Chafitt oJ' lhe FnrJl.
  fUnncceS,t, lo b in/ertil.j


                                      CH AP.                   IIT,

                    No IIta,, ftalt cenc l,cfon rbe lu/icct, or gil or rile armed,

1TIIM, It ie cnrClccl, that nrr mrn grcat ilor finrll, of- whet corrtlition foctct hc    of
                                                                                             bs,
I €rc(pt ttrc fing's fervilrrts ln hir pir:furic':, arrr,l lris Mirrifirrc itt crccuting    tlrc
    l(irr{'r pr.crpri or of tlrcir ollicc, rrr,l lu.h ae bc in thuir contp.lry ;r{liltirrg t}rem7
antl allb uion oiry nrade for rrnrr to hr:rp tlrc puuce, attd thc 1,1111r: tu l'uch ;ilat'r"swlterg
fucn, irite liu1,pcn, be lo lrurrly to comc beiorc tirc Kirrg'r Jullicus, or otltcr of tlre liing'r

                                                             25
                    Case 7:21-cv-05334-NSR Document 67-12 Filed 11/30/22 Page 6 of 6




                                            ( 6t )
Minifters doinq thcir olliee witlr fomc rncl uml, ror bring no forte in.rn foy o-f perce,
 ;;;;;;     i"ifiai armcd by night norby'noiin
                                            dry, iir frirrl m-rr}cn, nor in tbe.prcfenclo.f
,iic firl*,r Jufther, orothir mlhittcn,           ;o'prrt elBrherc' lPof puin to forfcit
 ir"i"'?"-rto'i:',f
'rhe llinr-/r'Iuftict litiT#*:,H[i#rJ'JTii:f'T'Hfi *,t'f, ltH:i,f'l'l':[l:
 i:;;;;F tti;,nchifcq rn,t rlidrbeilifr in lhc frrnq rriil ltlryorr md Brilift rrf citier .ld
                                                                                          rnd
l,"rou"ttr. within ihc fnrng:ctlco rnd borotglr, rnd'boruugh.holdcnr'lgnltrble_a
i"rtJitl. ufrhc pricc uirhin rhrir vrrdr lhdl ft1r'polr toerccrtc tlir r&. And thrt thc
funic.r atlienc.t, rt tholr cod'lng'down into tho-cohtf; lhdl hrvc Powil to cnquhc
low fuclr .ri$.erl :rnd lordr hrw creraifcd rhcir of,uer in rhir crter rnd to punift them
irtor thcy finrl that lnya ilotdonc rhet rhhh pcrtrin to thcir'oficc.

             I                        c H,A P. V.
                 tbc fuIanar how l7rittfull tc &liwnd ta thc thrif to be lrrccutcl.
       . . ,-litb     .rt

ITEM wherc ir w;rcordrinerl by thc ftatute of tVcftmin{tcr thc fecond, thet theyrhich
 I will drlivcr rheir writc to rhe-$hcrif lhell dcliver them irr thc full countvrot in the
- .n"nry, arrd rlrat tlre Sheriffgr Undcr-Shcriff fbal! thereupon snrlc . bfii : it ir ac-
f,r,
;lifi itl$[il]'*:';tlilfi
                                "x5!t$f"l'lil:iiiilH"i,":H*ffldltililll:'lll
urlc e bill after rhc form conrnincd    in rhe.fanc ftatirrq without trling rny thing thelc-
forc, And if thcy rcfnfe t6 makc e bitl, othcn that bc prefent 0rall F: t6 thcii fcrlr,
and if tlrc $herif or tfndcr.Sheriffrlo not rutunr thc faid nnin, they lhrll bc yunl0igd
afta tlrc fonn conminc'rl in thd firkl ftrtute. And elfo tlre Jufticr of Alfizg fhrll hrtc
powcr to cnquirc thcrcof a! cvqy rnnn'E complrint, ln{ torverd drmrgcrl rrheving rcf.
pe€t to thc delayr rnd to the lofr rnrl pcril thnt rnight happcn.


                                     CHAP.               vI.


rrrnM,.,,",,,-1f       i,,{:i!;'r:::":::::::::,".n.':::::andenadredthat
   thc ftatutes marle in time paft, withthe ftrtute of Winchcltcr, {hrll be obfcrved and
licpt in eyery point : rnd vrhere it is contained in rhc cnd of feid ltrtutc oI l{linchefter,
that the Jullices elligned lhnll havc polvcr to errquirc of defrulh, lnd to rcport to the
Kirrg inJrit nrxt pirtlirrnent, ntrrl thc KinI to remerly ir, which no malhrth yit fccn, thc
 fiuncJuliiccs {hrll lravc povcr to puniflr thc offcndsis rnd difobeycro,



                                                o
